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                UNITED STATES COURT OF INTERNATIONAL TRADE

 Grupo Simec S.A.B. de C.V.; Aceros Especiales
 Simec Tlaxcala, S.A. de C.V.; Compania
 Siderurgica del Pacifico S.A. de C.V.;
 Fundiciones de Acero Estructurales, S.A. de
 C.V.; Grupo Chant S.A.P.I. de C.V.; Operadora
 de Perfiles Sigosa, S.A. de C.V.; Orge S.A. de
 C.V.; Perfiles Comerciales Sigosa, S.A. de C.V.;
                                                                    COMPLAINT
 RRLC S.A.P.I. de C.V.; Siderúrgicos Noroeste,
 S.A. de C.V.; Siderurgica del Occidente y Pacifico                 Court No. 22-cv-00202
 S.A. de C.V.; Simec International 6 S.A. de C.V.;
 Simec International, S.A. de C.V.; Simec
 International 7 S.A. de C.V.; and Simec
 International 9 S.A. de C.V.


                                 Plaintiff,
         v.
 UNITED STATES,
                                 Defendant.


                                          COMPLAINT

       Plaintiff Grupo Simec S.A.B. de C.V.; Aceros Especiales Simec Tlaxcala, S.A. de C.V.;

Compania Siderurgica del Pacifico S.A. de C.V.; Fundiciones de Acero Estructurales, S.A. de

C.V.; Grupo Chant S.A.P.I. de C.V.; Operadora de Perfiles Sigosa, S.A. de C.V.; Orge S.A. de

C.V.; Perfiles Comerciales Sigosa, S.A. de C.V.; RRLC S.A.P.I. de C.V.; Siderúrgicos Noroeste,

S.A. de C.V.; Siderurgica del Occidente y Pacifico S.A. de C.V.; Simec International 6 S.A. de

C.V.; Simec International, S.A. de C.V.; Simec International 7 S.A. de C.V.; and Simec

International 9 S.A. de C.V. (collectively, "Simec"), by and through its attorneys, alleges and states

the following claims against the United States.




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       1.       Simec seeks judicial review of the Final Results of the Administrative Review by

the U.S. Department of Commerce (“Commerce”) of its antidumping duty order on steel concrete

reinforcing bar (“rebar”) from Mexico for the November 1, 2019 through October 31, 2020 Period

of Review ("Final Results"). The Final Results were published in the Federal Register on June 8,

2022. See Steel Concrete Reinforcing Bar from Mexico: Final Results of Antidumping Duty

Administrative Review; 2019-2020, 87 Fed. Reg. 34848 (Dep’t. Commerce, June 8, 2022).

                                        JURISDICTION

       2.       Simec brings this action pursuant to section 516A(a)(2)(i)(1) of the Tariff Act of

1930, as amended (the “Tariff Act”), 19 U.S.C. § 1516a(a)(2)(A)(i)(I), to examine a periodic

review determination by Commerce as described in section 516A(a)(2)(B)(iii) of the Tariff Act,

19 U.S.C. § 1516a(a)(2)(B)(iii). This Court has exclusive subject-matter jurisdiction of this matter

by reason of 28 U.S.C. § 1581(c).

       3.       The Final Results constitute a determination involving a free trade area country

(Mexico) under 19 U.S.C. § 1516a(f)(9)(B) and 19 U.S.C. § 1516a(g)(1)(B). Simec has not been

timely notified of any request for a review of this determination by a binational panel under 19

U.S.C. 1516a(g)(2).

                                           STANDING

       4.       Simec is a manufacturer, producer and exporter of rebar from Mexico, the subject

merchandise at issue in this action. Therefore, Simec is an “interested party” within the meaning

of Section 771(9)(A) of the Tariff Act, 19 U.S.C. § 1677(9)(A).

       5.       Simec participated in the underlying proceeding giving rise to this action as a

mandatory respondent and, therefore, is a “party to the proceeding in connection with which the

matter arises” under 19 U.S.C. § 1516a(a)(2)(A).


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        6.       As an interested party who was a party to the underlying proceeding, Simec has

standing to commence this action pursuant to section 516A(d) of the Tariff Act and 28 U.S.C. §

2631(c) and (k)(1).

                                   TIMELINESS OF ACTION

        7.       Commerce published notice of the Final Results in the Federal Register on June 8,

2022.

        8.       Simec commenced this action by filing a Summons in this Court on July 11, 2022,

thirty-three days after the date of publication of the Final Results. Because this matter involves a

free trade area country, the time limits set forth in 19 U.S.C. § 1516a(a)(2)(A) do not begin to run

until the thirty-first day after the date on which the Final Results were published in the Federal

Register. See 19 U.S.C. § 1516a(a)(5)(A); 19 U.S.C. § 1516a(a)(2)(A)(i)(I) and 19 U.S.C. §

1516a(a)(2)(B)(iii). Accordingly, the Summons was timely filed between the thirty-first and

sixtieth day after the Final Results were published in the Federal Register.

        9.       Simec is filing this Complaint within 30 days after it filed the Summons. This

Complaint is therefore timely filed pursuant to 19 U.S.C. § 1516a(a)(2)(A) and Rules 3(a)(2) and

6(a) of this Court.

                                    STATEMENT OF FACTS

        10.      On November 6, 2014, Commerce published an antidumping duty (AD) order on

steel concrete reinforcing bar (rebar) from Mexico in the Federal Register. See Steel Concrete

Reinforcing Bar from Mexico: Antidumping Duty Order, 79 FR 65925 (Dep’t of Commerce Nov.

6, 2014) (“AD Order”).

        11.      On November 3, 2020, Commerce published a notice of opportunity to request an

administrative review of the AD Order for the period of review running from November 1, 2019,


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through October 31, 2020. See Antidumping or Countervailing Duty Order, Finding, or Suspended

Investigation; Opportunity to Request Administrative Review, 85 FR 69586 (Dep’t of Commerce

Nov. 3, 2020).

        12.      On November 30, 2020, Commerce received requests for administrative review

from Petitioners in the investigation (requesting that Commerce conduct an administrative review

of 17 entities) as well as Deacero S.A.P.I. de C.V. (“Deacero”), Sidertul, S.A. de C.V., Grupo

Acerero, S.A. de C.V. and Simec.

        13.      On January 17, 2021, Commerce published a notice of initiation of the

administrative review. See Initiation of Antidumping Duty and Countervailing Duty Administrative

Reviews, 85 FR 3014 (Dep’t of Commerce Jan. 17, 2021) (“Initiation Notice”).

        14.      On February 8, 2021, Commerce selected Deacero and Simec as mandatory

respondents in the administrative review, collapsing all of the Simec entities named as Plaintiffs

in this Complaint into a single group, “Grupo Simec,” as it had done in prior administrative

reviews.

        15.      Commerce also issued Initial Questionnaire to Simec and Deacero on February 8,

2021.

        16.      The 15 collapsed entities that comprise Simec do not have common accounting or

management software. They are divided into five separate and geographically dispersed operating

units, each with different management and accounting systems and software. Simec thus needed

to prepare more than five separate responses to Commerce’s Initial Questionnaire and then

integrate, reconcile and collapse those responses into a single Questionnaire Response, per

Commerce methodology. The foregoing logistical challenges drastically increased the work and

coordination needed to respond to the Initial Questionnaire.



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       17.      Simec’s difficulty in responding to the Questionnaire was further exacerbated by

COVID-19 travel restrictions, which precluded travel between Simec’s geographically dispersed

companies to review voluminous on-site records, manually compile data and coordinate a single

response to the Initial Questionnaire.

       18.      Simec lost three accountants on its antidumping response team to death from

COVID-19. These accountants were central to both the Questionnaire response process and

Simec’s operations generally. The loss of these three accountants was devastating to Simec’s

ability to respond to the detailed and complex Questionnaire submitted by Commerce. Simec had

to find new individuals to fill these gaps who then had to learn antidumping law, company

protocols and company records. This issue was further aggravated by the fact that the global

COVID-19 pandemic health crisis greatly impaired Simec’s ability to hire new people.

       19.      Simec made Commerce aware of the above-described challenges and, after

receiving from Commerce brief extensions of time to respond to the Initial Questionnaire, timely

submitted responses to that Questionnaire.

       20.      On July 27, 2021 and August 4, 2021—roughly five months after Commerce issued

the Initial Questionnaire to Simec—Commerce issued an extensive Supplemental Questionnaire

to Simec.

       21.      The Supplemental Questionnaire included 275 questions stretched across twenty-

nine single space pages, many of which requested production of extensive supporting documents.

       22.      Simec continued to face a number of challenges in responding to the Supplemental

Questionnaire. Simec communicated these challenges to Commerce in requests for extensions on

August 9, 20, 30, 31 and September 1 and 2, 2021.




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       23.    Commerce only partially granted these requests, giving Simec brief extensions of

time to respond to the Supplemental Questionnaire up to September 7, 2021 but then indicated in

a September 3, 2021 letter that it would be unlikely to grant any further extensions. Thus, even

with the brief extensions granted by Commerce, Simec had slightly over one month to respond to

the 275 supplemental questions presented by Commerce and to provide extensive supporting

documentation for same.

       24.    On September 6, 2021, Simec filed a letter with Commerce indicating that it

intended to timely file its responses to Commerce’s Supplemental Section A to C Questionnaire

and Commerce’s Section A/D Supplemental Questionnaire. Simec also informed Commerce,

however, that because Commerce had previously advised Simec that it would not grant any further

extensions, Simec’s responses would be based on the information that Simec had been able to

collect by that point. Simec’s letter then requested an additional two weeks to respond to (a)

Questions 70-75 regarding Simec’s affiliated downstream sales; (b) window period sales and (c)

in order to review Simec’s to-be-submitted responses as to any needed corrections and

supplements, given that insufficient time had been granted to respond. Commerce denied this

request on September 7, 2021.

       25.    Simec thereafter timely submitted its responses to Commerce’s Supplemental

Section A-D Questionnaire which were due September 7, 2021.

       26.    Although Commerce subsequently indicated that certain of the responses submitted

by Simec on September 7, 2021 were inadequate, it never issued any follow-up questionnaires to

Simec for the remainder the administrative review. Commerce refused to do so although the

administrative review was not completed until approximately ten months later. Commerce did,




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however, subsequently issue a second Supplemental Questionnaire to Deacero on September 22,

2021 and a third Supplemental Questionnaire to Deacero on November 3, 2021.

       27.    On October 18, 2021—the deadline for Deacero to submit responses to

Commerce’s second Supplemental Questionnaire—Simec submitted additional factual

information to Commerce (Simec’s “October 18th filing”).

       28.    Simec requested that Commerce accept the additional information because of the

numerous challenges faced by Simec in preparing its responses to Commerce’s earlier

Supplemental Questionnaire and because Commerce was still accepting new factual information

from Deacero. Simec additionally explained to Commerce that Simec’s October 18th filing

included additional information as to seven (7) of the more than 275 questions included in

Commerce’s Supplemental Questionnaire to Simec, as well as translations that had been embedded

as comments in documents previously submitted with Simec’s Supplemental Questionnaire

Responses. This information had been inadvertently stripped by computer operation from the

documents during the process of filing the information on Commerce’s ACCESS site.

       29.    On October 19, 2021, Commerce rejected Simec’s October 18th filing. Commerce

explained that it was rejecting Simec’s October 18th filing as untimely because the information

submitted had been requested in the Supplemental Questionnaire directed to Simec.

       30.    On November 30, 2021, Commerce issued the preliminary results of the

administrative review, which were published in the Federal Register on December 3, 2021. See

Steel Concrete Reinforcing Bar From Mexico: Preliminary Results of Antidumping Duty

Administrative Review; 2019–2020, 86 Fed. Reg. 68,632 (Dec. 3, 2021) (“Preliminary Results”);

Issues and Decision Memorandum accompanying Steel Concrete Reinforcing Bars From Mexico,

86 Fed. Reg. 68,632 (Dep’t Commerce Dec. 3, 2021) (“Preliminary IDM”).



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        31.     In the Preliminary Results, Commerce determined that Simec would be

preliminarily assigned a rate of rate of 66.70% based on the application of adverse facts available

(“AFA”) under 19 U.S.C. § 1677e(b). See Preliminary Results, 86 Fed. Reg. at 68,633-68,634, and

accompanying Preliminary IDM at 4-10. Commerce further stated that it did not need to

corroborate the AFA 66.70% rate because it was the total AFA rate applied to Grupo Simec in the

investigation 7 years earlier. See Preliminary IDM at 8-9 (citing 19 U.S.C. § 1677e(c)(2)).

        32.     On February 11, 2022, Simec and Grupo Acerero S.A. de C.V. both filed

administrative case briefs with Commerce challenging the Preliminary Results, including

Commerce’s use of AFA as to Simec.

        33.     On February 18, 2022, Simec filed an administrative rebuttal brief with Commerce

further challenging the Preliminary Results, including Commerce’s use of AFA as to Simec.

        34.     On June 2, 2022, Commerce issued the Final Results of the administrative review.

The Final Results were published in the Federal Register on June 8, 2022. In the Final Results

Commerce assigned an antidumping duty rate of 66.7% to Simec based on total adverse facts

available.

                                  STATEMENT OF CLAIMS

                                            COUNT I

        35.     The above-referenced allegations are incorporated by reference and restated as if

fully set forth herein.

        36.     Commerce’s application of total AFA to Simec based on its finding that Simec did

not cooperate to the best of its ability in responding to Commerce’ requests for information was

arbitrary and capricious, an abuse of discretion, not supported by substantial evidence on the record

and was otherwise contrary to law. As to this and the below Counts, see Celik Halat ve Tel Sanayi


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A.S. v. United States, Ct. No. 21-00045, slip. op. no. 22-54 (CIT May 26, 2022, Judge Timothy C.

Stanceu); Celik Halat ve Tel Sanayi A.S. v. United States, Ct. No. 21-00050, slip. op. no. 22-55

(CIT May 26, 2022, Judge Timothy C. Stanceu) where such issues were especially addressed.

                                            COUNT II

        37.     The above-referenced allegations are incorporated by reference and restated as if

fully set forth herein.

        38.     Commerce’s failure to calculate a dumping margin for Simec based on Simec’s

own information and decision to instead use adverse facts available was arbitrary and capricious,

an abuse of discretion, not supported by substantial evidence and otherwise not in accordance with

law.

                                           COUNT III

        39.     The above-referenced allegations are incorporated by reference and restated as if

fully set forth herein.

        40.     Commerce’s denial of Simec’s full extension requests so early in the review process

was without sufficient justification and failed to consider the record as a whole, including

Commerce’s own substantial delays in issuing its Supplemental Questionnaire. It was, therefore,

arbitrary and capricious, an abuse of discretion, not supported by substantial evidence and

otherwise not in accordance with law.

                                            Count III

        41.     The above-referenced allegations are incorporated by reference and restated as if

fully set forth herein.

        42.     Commerce’s failure to issue follow-up questionnaires to Simec requesting the

additional information Commerce may have needed to comply with its statutory obligation to


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calculate an accurate dumping margin for Simec was arbitrary and capricious, an abuse of

discretion, not supported by substantial evidence and otherwise not in accordance with law.

                                           COUNT IV

        43.     The above-referenced allegations are incorporated by reference and restated as if

fully set forth herein.

        44.     Commerce’s failure to accept Simec’s October 18, 2021 filing in order to

supplement its earlier questionnaire responses, while simultaneously accepting supplemental

responses from co-respondent Deacero, and later issuing and accepting responses to a third

supplemental questionnaire from Deacero, was arbitrary and capricious, an abuse of discretion,

not supported by substantial evidence and otherwise not in accordance with law.

                                            COUNT V

        45.     The above-referenced allegations are incorporated by reference and restated as if

fully set forth herein.

        46.     In applying total adverse facts available, Commerce selected adverse facts which

bear no relationship to commercial reality, were disproportionate to the situation and resulted in

highly distorted Final Results. In particular, the use of the 66.7% rate from the 7-year-old

investigation is 46 times greater than the most recent verified dumping rate found for Simec

(1.46%) and 34 times the average calculated rate (1.98%) over the prior 7 intervening years of

administrative reviews under this antidumping order. The 66.7% rate has never been verified by

Commerce in any administrative review (or the original investigation) for any party, including

Simec, since being posited in the original investigation in 2014. Rather, in the intervening 7 years

Commerce has repeatedly verified other rates showing that the 66.7% rate grossly inaccurate.




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        47.     Commerce’s calculated final rate was therefore excessive and does not reflect

commercial reality. It is thus arbitrary and capricious, an abuse of discretion, not supported by

substantial evidence and otherwise not in accordance with law.

                                           COUNT VI

        48.     The above-referenced allegations are incorporated by reference and restated as if

fully set forth herein.

        49.     Commerce’s failure to apply neutral facts available was arbitrary and capricious,

an abuse of discretion, not supported by substantial evidence and otherwise not in accordance with

law.

                                          COUNT VII

        50.     The above-referenced allegations are incorporated by reference and restated as if

fully set forth herein.

        51.     It is well-settled that Commerce’s selection of an AFA rate must reflect the

“situation that resulted in the administering authority using an adverse inference.” See 19 U.S.C.

§ 1677e(d)(2). Commerce unlawfully failed to do so here.

        52.     Commerce applied a punitive rate of 66.7% against Simec based on Simec’s

unintentional, nonfraudulent acts which resulted in substantially complete responses to most of

Commerce’s 275-part supplemental questionnaire within a response time of less than 5 weeks in

the midst of a global pandemic that killed three of its antidumping response team members. When

considered in their totality, Commerce’s actions in these regards were arbitrary and capricious, an

abuse of discretion, not supported by substantial evidence and otherwise not in accordance with

law.




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                                 REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests judgment from the Court:

      a) sustaining all Counts hereinabove;

      b) awarding attorneys’ fees and costs;

      c) remanding this matter to Commerce for disposition consistent with the Court's final

          opinion; and

      d) granting such other relief as the Court may deem just and proper.


                                                    Respectfully submitted,

                                                    s/ James L. Rogers _______________
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